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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                03/12/2019 01:45 PM
                                                                  COURTROOM 6D, 6th Floor
HONORABLE CYNTHIA JACKSON
CASE NUMBER:                                                    FILING DATE:
6:18-bk-07259-CCJ                        7                         11/21/2018
Chapter 7
DEBTOR:                Deborah Allard


DEBTOR ATTY:           Melissa Peat
TRUSTEE:               Marie E. Henkel
HEARING:
Motion by US Bank for Relief from Stay Re: 9 Nipmuc Trail Unit:
A North Providence, Rhode Island 02904 (Doc #6)
Response by Trustee (Doc #11)
Note: Prior Case(s): 08-13021, Chapter 7 filed in Rhode Island
Bankruptcy Court on 09/29/2008 , Standard Discharge on
12/30/2008

APPEARANCES:: Kristen Henkel: Trustee Atty; Lorne Durket: U.S. Bank Atty

RULING: Motion by US Bank for Relief from Stay Re: 9 Nipmuc Trail Unit:
A North Providence, Rhode Island 02904 (Doc #6) - GRANTED. STAY LIFTED 60 DAYS FROM MARCH 12. 2019; ORDER
BY U.S. BANK . (WC)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                   Case Number 6:18-bk-07259-CCJ                     Chapter 7
